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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION


 CHARLES SHEFFIELD and
 PEDESTRIAN BEACH, LLC,
                                                   Civil Action No. 3:21-cv-00122
                                     Plaintiffs,

                      v.

 GEORGE P. BUSH, in his official capacity
 as Commissioner of the Texas General Land
 Office, and KEN PAXTON, in his official
 capacity as Attorney General for the State of
 Texas,

                                  Defendants.


                                NOTICE OF APPEAL

      Pursuant to 28 U.S.C. § 1292(a)(1), Plaintiffs hereby appeal from the district court’s

order and judgment of May 24, 2022, denying Plaintiffs’ motion for preliminary injunction.

      Dated: June 1, 2022.
                                          Respectfully submitted,

                                          s/ J. David Breemer
                                          J. DAVID BREEMER
                                          Attorney-in-Charge
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                                          S.D. Tex. No. 632473
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                                          Counsel for Plaintiffs


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                            CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system. Counsel for Defendants are registered with the

Court’s CM/ECF system and will receive a notification of such filing via the Court’s

electronic filing system.

                                                 s/ J. David Breemer
                                                    J. DAVID BREEMER




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